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                            CHANG E OF MAILING ADDRESS


                                                                    Filed in U.S.
                                                                                    Bankruptcy
       TO: UNITED STATES BRC                                               Atlanta.
                                                                                      Georgia
                                                                                                 Coult
       FROM: CASSANDRA JOHNSON-LANDRY                                  SEP 340
                                                                                       2020
       BRC CASE NUMBER: 18-55697 LRC

       DATE: 9/30/20




       TEMPORARILY ALL MAIL IS REQUESTED TO BE MAILED ONLY TO CURRENT P.O. BOX ON FILE.




       CASSANDRA JOHNSON-LANDRY

       P.O BOX 1275

       GRAYSON, GEORGIA 30017

       678.860.3621

       CJ LAN DRY1967@G MAILCOM




       PLEASE REMOVE 869 NATCH EZ VALLEY TRACE, G RAYSON, G EORG IA 30017 AND 669 NATCH EZ
       VALLEY TRACE, GRAYSON, GEORGIA 30017 AS DEBTOR'S PHYSICAL MAILING ADDRESS DUE TO
       LIQUIDATION OF DEBTOR'S HOME.




       PLEASE NOTE DEBTOR IS TEMPORARILY TRANSIENT AND RESIDING AT A TEMPORARY
       ADDRESS.




       S/Cassandra Johnson-Landry. PRO SE

       CASSANDRA JOHNSON-LANDRY
       678.860.3621
